1                                  UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF OHIO
2

3    SPENCER NEAL,                                  )       CASE NO.: _____________________
                                                    )
4                   Plaintiff,                      )       JUDGE ________________________
                                                    )
5
            vs.                                     )       COMPLAINT FOR INJUNCTIVE
6                                                   )       RELIEF AND DAMAGES:
                                                    )
7    TJM COLUMBUS, LLC,                             )       1ST CAUSE OF ACTION: For Denial of
                                                    )       Access by a Public Accommodation in
8
                    Defendant.                      )       Violation of the Americans with Disability
9                                                   )       Act of 1990 (“Title III” and “ADA”),
                                                    )       42 U.S.C. §§ 12181 et seq.
10                                                  )
                                                    )       2ND CAUSE OF ACTION: For Denial of
11
                                                    )       Access by a Public Accommodation in
12                                                  )       Violation of Ohio Revised Code 4112.02, et
                                                    )       seq.
13                                                  )
                                                    )       3RD CAUSE OF ACTION: For Denial of
14
                                                    )       Access by a Public Accommodation in
15                                                  )       Violation of Ohio Administrative Code
                                                    )       4101:1-11, et seq.
16
            Plaintiff SPENCER NEAL Complains of Defendant TJM COLUMBUS, LLC, doing
17

18   business as Crowne Plaza Columbus North, and alleges as follows:

19   INTRODUCTION:
20
            1.      This is a civil rights action for discrimination against persons with physical
21
     disabilities, of which plaintiff is a member of, for failure to remove architectural barriers
22
     structural in nature at Defendant’s property, a place of public accommodation, thereby
23

24   discriminatorily denying plaintiff access to, the full and equal enjoyment of, opportunity to

25   participate in, and benefit from, the goods, facilities, services, and accommodations thereof.
26
     Plaintiff seeks injunctive relief and damages pursuant to the Americans with Disability Act of
27
     1990 (“title III” AND “ADA”), 42. U.S.C. §§ 12181 et seq.; Ohio Revised Code § 4112.02, et
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 1
1    seq.; and Ohio Administrative Code § 4101:1-11, et sec.
2
               2.    Plaintiff SPENCER NEAL is a person with physical disabilities who, on or about
3
     March 25, 2019 through March 26, 2019, was an invitee, guest, patron, or customer at
4
     Defendant’s property, which houses a CROWNE PLAZA hotel, located at 6500 Doubletree
5

6    Avenue, Columbus, Ohio 43229. At said time and place, Defendant failed to provide proper legal

7    access to the property, which is a public accommodation and/or public facility. The denial of
8
     access was in violation of both federal and Ohio legal requirements, and NEAL suffered
9
     violations of his civil rights to full and equal access and was embarrassed and humiliated.
10
     JURISDICTION AND VENUE:
11

12             3.    Jurisdiction: This Court has jurisdiction of this action pursuant to 28 U.S.C.

13   §1331 for violations of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.
14
     Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same
15
     nucleus of operative facts and arising out of the same transactions, are also brought under
16
     parallel Ohio law, whose goals are closely tied with the ADA, including but not limited to
17

18   violations of Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code § 4101:1-11,

19   et sec.
20
               4.    Venue: Venue is proper in this court pursuant to 28 U.S.C. §1391(b) and is
21
     founded on the facts that the real property which is the subject of this action is located in this
22
     district, in the City of Columbus, County of Franklin, State of Ohio and that plaintiffs’ causes of
23

24   action arose in this district.

25   PARTIES:
26
               5.    Plaintiff SPENCER NEAL is a “physically handicapped person,” a “physically
27
     disabled person,” and a “person with physical disabilities.” (Hereinafter the terms “physically
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 2
1    disabled,” “physically handicapped” and “person with physical disabilities” are used
2
     interchangeably, as these words have similar or identical common usage and legal meaning.)
3
     NEAL is a “person with physical disabilities,” as defined by all applicable Ohio and United
4
     States laws. NEAL requires the use of a wheelchair to travel about in public. Consequently,
5

6    NEAL is a member of that portion of the public whose rights are protected by the provisions of

7    Ohio Revised Code § 4112.02, et seq. and Ohio Administrative Code § 4101:1-11, et sec.
8
            6. Defendant TJM COLUMBUS, LLC, an Ohio Limited Liability Company, is the
9
     owner and operator, lessor and/or lessee, or agent of the owner, lessor and/or lessee, of the
10
     building and/or buildings which constitute a public facility in and of itself, occupied by the
11

12   CROWNE PLAZA hotel, a public accommodation, located at/near 6500 Doubletree Avenue,

13   Columbus, Ohio 43229, and subject to the requirements of Ohio state law requiring full and
14
     equal access to public facilities pursuant to Ohio Revised Code § 4112.02, et seq., Ohio
15
     Administrative Code § 4101:1-11, et sec., and subject to the Americans with Disability Act of
16
     1990 (“TITLE III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., and to all other legal
17

18   requirements referred to in this complaint.

19          7. At all times relevant to this complaint, Defendant is the lessee, or agent of the
20
     lessee, and/or lessor, of said premises, and owns and operates the subject CROWNE PLAZA
21
     hotel as a public facility at/near 6500 Doubletree Avenue, Columbus, Ohio 43229. The business,
22
     a CROWNE PLAZA hotel, is open to the general public and conducts business therein. The
23

24   business operating on said premises is a public accommodation subject to the requirements of

25   Ohio Revised Code § 4112.02, et seq. and Ohio Administrative Code § 4101:1-11, et sec.
26
            8. At all times relevant to this complaint, Defendant is the landlords/lessors,
27
     tenants/lessees and the owners and operators of the subject hotel, a public accommodation
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 3
1    located at/near 6500 Doubletree Avenue, Columbus, Ohio 43229. As such, Defendant is jointly
2
     and severally responsible to identify and remove architectural barriers pursuant to Code of
3
     Federal Regulations section 36.201(b), which states in pertinent part:
4
            § 36.201        General
5

6                           (b) Landlord and tenant responsibilities. Both the landlord
                            who owns the building that houses a place of public
7                           accommodation and the tenant who owns or operates the place of
                            public accommodation are public accommodations subject to the
8
                            requirements of this part. As between the parties, allocation of
9                           responsibility for complying with the obligations of this part may
                            be determined by lease or other contract.
10
                            CFR §36.201(b)
11

12          9. Plaintiff does not know the true names of Defendant, its business capacities, its

13   ownership connection to the property and business, nor their relative responsibilities in causing
14
     the access violations herein complained of. Plaintiff is informed and believes that the Defendant
15
     herein is a public accommodation, and is the agent, ostensible agent, master, servant, employer,
16
     employee, representative, franchisor, franchisee, partner, and associate, or such similar capacity,
17

18   of each of the other defendants, if any, and was at all times acting and performing, or failing to

19   act or perform, within the course and scope of his, her or its authority as agent, ostensible agent,
20
     master, servant, employer, employee, representative, franchiser, franchisee, partner, and
21
     associate, or such similar capacity, and with the authorization, consent, permission or ratification
22
     of each of the other defendants, and is responsible in some manner for the acts and omissions of
23

24   the other defendants in legally causing the violations and damages complained of herein, and

25   have approved or ratified each of the acts or omissions of each other defendant, as herein
26
     described.
27

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 4
1    PRELIMINARY FACTUAL ALLEGATIONS:
2
            10. Defendant is the entity that is a public accommodation that owns, leases (or
3
     leases to), or operates a, CROWNE PLAZA hotel, located at 6500 Doubletree Avenue,
4
     Columbus, Ohio 43229. CROWNE PLAZA hotel and each of its facilities are places “of public
5

6    accommodation” subject to the requirements of the Americans with Disability Act of 1990

7    (“TITLE III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., Ohio Revised Code § 4112.02, et seq.;
8
     and Ohio Administrative Code § 4101:1-11, et sec. On information and belief, said facility has
9
     undergone “alterations, structural repairs and additions,” each of which has subjected the
10
     CROWNE PLAZA hotel to handicapped access requirements.
11

12          11. Plaintiff SPENCER NEAL is a person with a disability. NEAL is a “physically

13   disabled person,” as defined by all applicable Ohio and United States laws. NEAL is paralyzed
14
     as a result of spina bifida and requires the use of a wheelchair for mobility and to travel in public.
15
            12. At all times referred to herein and continuing to the present time, Defendant
16
     advertised, publicized and held out the CROWNE PLAZA hotel as being handicapped accessible
17

18   and handicapped usable.

19          13. On or about March 25, 2019 through March 26, 2019, NEAL was an invitee and
20
     guest at the subject CROWNE PLAZA hotel, arriving for purposes of obtaining lodging.
21
            14.     Upon his arrival, during his patronizing of the public accommodation, and upon
22
     his exit of the facility, NEAL personally encountered architectural barriers which denied him the
23

24   full and equal access to the property.

25          15. Therefore, at said time and place, NEAL, who is a person with disabilities,
26
     encountered the following inaccessible elements of the subject CROWNE PLAZA hotel which
27
     constituted architectural barriers and a denial of the proper and legally required access to a public
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 5
1    accommodation to persons with physical disabilities. By way of example, and not as an
2
     exhaustive inventory of Defendant’s violations, the following barriers to access were personally
3
     encountered by plaintiffs:
4
        A. In the parking south, there are not enough accessible stalls in violation of 2010 ADAS
5
           Section: 208.2 and 1991 ADAS Section: 4.1.2(5)(a).
6
        B. In the parking north, there are not enough accessible stalls in violation of 2010 ADAS
7          Section: 208.2 and 1991 ADAS Section: 4.1.2(5)(a).
8
        C. In the parking north, the access aisle is missing at the 2 accessible parking stalls in
9          violation of 2010 ADAS Section: 502.2 and 1991 ADAS Section: 4.1.2(1).

10      D. In the parking north, the parking signs are mounted too low in violation of 2010 ADAS
           Section: 502.6.
11

12      E. In the parking north, the accessible parking stall's access aisle contains a built up curb
           ramp which results in significant slopes greater than 2 percent in violation of 2010 ADAS
13         Section: 502.4 and 1991 ADAS Section: 4.6.3.
14
        F. At the exterior accessible route, the route of travel at this location does not provide the
15         required minimum width in violation of 2010 ADAS Section: 403.5.1 and 1991 ADAS
           Section: 4.2.1.
16
        G. At the exterior accessible route, the building entrance by the restaurant is not located on
17
           an accessible route in violation of 2010 ADAS Section: 206.2.1 and 1991 ADAS Section:
18         4.1.2(1).

19      H. At the exterior accessible route, the curb ramp is not wide enough in violation of 2010
           ADAS Section: 405.5, 406.1.
20

21      I. In the lobby, the doormats are not secured in place at the entry door and throughout the
           lobby in violation of 2010 ADAS Section: 302.2 and 1991 ADAS Section: 4.5.3.
22
        J. In the lobby, the lowered portions of the sales and service counter is not a minimum 36
23
           inches wide due to obstructions in violation of 2010 ADAS Section: 904.4.
24
        K. In the lobby, the counter seating is not 60 inches in length in violation of 1991 ADAS
25         Section: 5.2.
26
        L. In room 155, the sign providing directional and information is noncompliant in violation
27         of 2010 ADAS Section: 216.3.

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 6
1       M. In room 155, the water and drain pipes under the lavatory are not adequately insulated in
           violation of 2010 ADAS Section: 606.5 and 1991 ADAS Section: 4.19.4.
2

3       N. In room 155, the floor drain is set too low in the floor which causes a slope over 2 percent
           in violation of 2010 ADAS Section: 303.3, 304.2, 304.2 Exception.
4
        O. In room 155, the restroom does not provide for a turning space within the restroom in
5
           violation of 2010 ADAS Section: 603.2.1 and 1991 ADAS Section: 4.22.3.
6
        P. In room 155, the side grab bar is obstructed by the vertical grab bar in violation of 2010
7          ADAS Section: 609.3.
8
        Q. In room 155, the side grab bar is too high in violation of 2010 ADAS Section: 609.4 and
9          1991 ADAS Section: 4.17.6.

10      R. In room 155, the toilet is not located within the range allowed from the side wall or
           partition in violation of 2010 ADAS Section: 604.2.
11

12      S. In room 155, the rear grab bar is too high in violation of 2010 ADAS Section: 609.4 and
           1991 ADAS Section: 4.17.6.
13
        T. In room 155, the toilet paper is not installed within the compliant range in violation of
14
           2010 ADAS Section: 604.7.
15
        U. In room 155, the required 56 inches by 60 inches clear floor space for the water closet has
16         been obstructed by the trash can in violation of 2010 ADAS Section: 604.3.1 and 1991
           ADAS Section: 4.16.2.
17

18      V. In room 155, the clearance in front of the shower is not compliant in violation of 2010
           ADAS Section: 608.2.2.1 and 1991 ADAS Section: 4.21.2.
19
        W. In room 155, the soap dish is out of reach range because the depth of the reach from the
20
           shower seat is greater than 25 inches in violation of 2010 ADAS Section: 308.2.2 and
21         1991 ADAS Section: 4.2.5.

22      X. In room 155, the coat hook is installed greater than 48 inches above the finished floor in
           violation of 2010 ADAS Section: 308.2.1 and 1991 ADAS Section: 4.2.5.
23

24      Y. In room 155, the route of travel at this location does not provide a minimum width of 36
           inches in violation of 2010 ADAS Section: 403.5.1 and 1991 ADAS Section: 4.3.3.
25
        Z. In room 155, the drape pulls are too high and out of the maximum reach range for a side
26
           approach in violation of 2010 ADAS Section: 308.3.1.
27
        AA.      In room 155, the patio door safety latch is too high and out of the maximum reach
28        range for a side approach in violation of 2010 ADAS Section: 308.3.1.
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 7
1       BB.       In room 155, the floor lamp switch is too high and out of the maximum reach
           range for a side approach in violation of 2010 ADAS Section: 308.3.1.
2

3       CC.        In room 155, the climate controls are not accessible because there is not adequate
           clear floor space for an approach in violation of 2010 ADAS Section: 305.3 and 1991
4          ADAS Section: 4.2.4.1.
5
        DD.    In room 155, the door threshold at the patio is non-compliant in violation of 2010
6         ADAS Section: 303.3.

7       EE. In room 155, the patio door opening does not provide at least 32 inches between the face
            of the door and the opposite stop in violation of 2010 ADAS Section: 404.2.3 and 1991
8
            ADAS Section: 4.13.5.
9
        FF. In room 155, there is no accessible route to the patio. The change in level exceeds 0.25"
10          in violation of 2010 ADAS Section: 206.2.2 and 1991 ADAS Section: 4.1.2(1).
11
        GG.      In room 155, the closet shelf and iron are too high and out of the maximum reach
12        range for a side approach in violation of 2010 ADAS Section: 308.3.1.

13      HH.      In other guest rooms, there may not be enough accessible rooms designed with
          mobility features. A Rule 34 inspection is required to check for compliance with the
14
          ADA standards in violation of 2010 ADAS Section: 224.2 and 1991 ADAS Section:
15        9.1.2.

16      II. In other guest rooms, accessible guest rooms may not be dispersed among the various
            classes of sleeping accommodations. A rule 34 inspection is required to check for
17
            compliance with the ADA standards in violation of 2010 ADAS Section: 224.5 and 1991
18          ADAS Section: 9.1.4.

19      JJ. In the mens’ public restroom, a compliant room identification sign is missing on the
            strike side of the door in violation of 2010 ADAS Section: 216.2 and 1991 ADAS
20
            Section: 4.30.6.
21
        KK.       In the men’s public restroom, the restroom is missing the International Symbol of
22        Accessibility (ISA) in violation of 2010 ADAS Section: 216.8 and 1991 ADAS Section:
          4.1.3(1).
23

24      LL. In the men’s public restroom, the door opening contains projections into the required
            clear space in violation of 2010 ADAS Section: 404.2.3.
25
        MM.      In the men’s public restroom, the maneuvering space on the pull side of the door
26
          does not adequately extend beyond the latch side of the door in violation of 2010 ADAS
27        Section: 404.2.4.1 and 1991 ADAS Section: 4.13.6.

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 8
1       NN.       In the men’s public restroom, the water and drain pipes under the lavatory are not
          adequately insulated in violation of 2010 ADAS Section: 606.5 and 1991 ADAS Section:
2
          4.19.4.
3
        OO.       In the men’s public restroom, the toilet seat cover dispenser is mounted too high
4         in violation of 2010 ADAS Section: 308.1.
5
        PP. In the men’s public restroom, the paper towel dispenser's operation mechanism is too
6           high off the floor in violation of 2010 ADAS Section: 308.2.1.

7       QQ.       In the men’s public restroom, the toilet seat is not located within the range
          allowed off the floor in violation of 2010 ADAS Section: 604.4 and 1991 ADAS Section:
8
          4.16.3.
9
        RR.        In the men’s public restroom, the toilet paper is not installed within the compliant
10         range in violation of 2010 ADAS Section: 604.7.
11
        SS. In the men’s public restroom, the mirror is mounted too high in violation of 2010 ADAS
12          Section: 603.3.

13      TT. In the fitness area, the stretch bands are not accessible because there is not adequate clear
            floor space for an approach in violation of 2010 ADAS Section: 305.3 and 1991 ADAS
14
            Section: 4.2.4.1.
15
        UU.       In the fitness area, the water cooler is not accessible because there is not adequate
16        clear floor space for an approach in violation of 2010 ADAS Section: 305.3 and 1991
          ADAS Section: 4.2.4.1.
17

18      VV.       In the fitness area, the clear floor space only allows for a forward approach and
          the stretch bands out of reach range in violation of 2010 ADAS Section: 308.2.2 and
19        1991 ADAS Section: 4.2.5.
20
        WW.    In the fitness area, a portion of the medicine balls are too high and out of the
21        maximum reach range for a side approach in violation of 2010 ADAS Section: 308.3.1.

22      XX.       In the fitness area, the telephone is not accessible because there is not adequate
          clear floor space for an approach in violation of 2010 ADAS Section: 305.3 and 1991
23
          ADAS Section: 4.2.4.1.
24
        YY.       In the fitness area, the coat hooks are not accessible because there is not adequate
25        clear floor space for an approach in violation of 2010 ADAS Section: 305.3 and 1991
          ADAS Section: 4.2.4.1.
26

27      ZZ.At the swimming pool area, at the time of the evaluation the lift had a protective cover on
           it and was not accessible without assistance in violation of 2010 ADAS Section: 242.2.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 9
1
     On personal knowledge, information and belief, other public facilities and elements too
2

3    numerous to list were improperly inaccessible for use by persons with physical disabilities.

4            16. At all times stated herein, the existence of architectural barriers at Defendant’s
5
     place of public accommodation evidenced “actual notice” of Defendant’s intent not to comply
6
     with the Americans with Disability Act of 1990 (“title III” and “ADA”), 42. U.S.C. §§ 12181 et
7
     seq., Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code §4101:1-11, et sec.
8

9    either then, now or in the future.

10           17. As a legal result of Defendant’s failure to act as a reasonable and prudent public
11
     accommodation in identifying, removing or creating architectural barriers, policies, practices and
12
     procedures that denied access to plaintiff and other persons with disabilities, plaintiffs suffered
13
     damages as alleged herein.
14

15           18. As a further legal result of the actions and failure to act of Defendant, and as a

16   legal result of the failure to provide proper handicapped-accessible public facilities as set forth
17
     herein, NEAL was denied his civil rights to full and equal access to public facilities. NEAL
18
     suffered a loss of his civil rights and his rights as a person with physical disabilities to full and
19
     equal access to public facilities, and further suffered from injury, shame, humiliation,
20

21   embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally associated

22   with a person with physical disabilities being denied access, all to their damages as prayed
23
     hereinafter in an amount within the jurisdiction of this court.
24
             19. On information and belief, construction alterations carried out by Defendant have
25
     triggered access requirements under Americans with Disability Act of 1990 (“TITLE III” AND
26

27   “ADA”), 42. U.S.C. §§ 12181 et seq., Ohio Revised Code § 4112.02, et seq.; and Ohio

28   Administrative Code §4101:1-11, et sec.
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 10
1            20. NEAL, as described herein below, seeks injunctive relief to require the CROWNE
2
     PLAZA hotel to be made accessible to meet the requirements of both Ohio law and the
3
     Americans with Disabilities Act, whichever is more restrictive, so long as Defendant operates
4
     and/or leases the CROWNE PLAZA hotel as a public facility. Plaintiff seeks damages for
5

6    violation of his civil rights, from the date of his visit until such date as Defendant brings the

7    establishment into full compliance with the requirements of Ohio and federal law.
8
             21. On information and belief, Defendant has been negligent in its affirmative duty
9
     to identify the architectural barriers complained of herein and negligent in the removal of some
10
     or all of said barriers.
11

12           22. Because of Defendant’s violations, NEAL and other persons with physical

13   disabilities are unable to use public facilities such as those owned and operated by Defendant on
14
     a “full and equal” basis unless such facility is in compliance with the provisions of the
15
     Americans with Disabilities Act and other accessibility law as plead herein. Plaintiff seeks an
16
     order from this court compelling Defendant to make the CROWNE PLAZA hotel accessible to
17

18   persons with disabilities.

19           23.    On information and belief, Defendant has undertaken to modify and alter existing
20
     building(s), and has failed to make them comply with accessibility requirements. The acts and
21
     omissions of Defendant in failing to provide the required accessible public facilities at the time
22
     of plaintiff's visit and injuries, indicate actual and implied malice towards plaintiff, and
23

24   despicable conduct carried out by Defendant with a willful and conscious disregard for the rights

25   and safety of plaintiff and other similarly situated persons, and justify punitive damages pursuant
26
     to Ohio Revised Code § 2315.21, in amounts sufficient to make a more profound example of
27
     Defendant to other operators of other establishment and other public facilities, and to punish
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 11
1    Defendant and to carry out the purposes of § 2315.21.
2
             24. Plaintiff is informed and believes and therefore alleges that Defendant caused the
3
     subject property to be constructed, altered and/or maintained in such a manner that persons with
4
     physical disabilities were denied full and equal access to, within and throughout said facility of
5

6    the CROWNE PLAZA hotel and were denied full and equal use of said public facility. Further,

7    on information and belief, Defendant has continued to maintain and operate said facility in such
8
     conditions up to the present time, despite actual and constructive notice to such Defendant that
9
     the configuration of the establishment and/or its building(s) are in violation of the civil rights of
10
     persons with physical disabilities, such as plaintiff and the disability community. Such
11

12   construction, modification, ownership, operation, maintenance and practices of such public

13   facilities are in violation of law as stated in Americans with Disability Act of 1990 (“TITLE III”
14
     AND “ADA”), 42. U.S.C. §§ 12181 et seq. and elsewhere in the laws of Ohio.
15
             25. On information and belief, the subject public facility of the CROWNE PLAZA hotel
16
     denied full and equal access to plaintiff and other persons with physical disabilities in other
17

18   respects due to noncompliance with requirements of Ohio Revised Code § 4112.02, et seq.; and

19   Ohio Administrative Code §4101:1-11, et sec.
20
             26. On personal knowledge, information and belief, the basis of Defendant’s actual
21
     and constructive notice that the physical configuration of the facilities including, but not limited
22
     to, architectural barriers constituting the CROWNE PLAZA hotel was in violation of the civil
23

24   rights of persons with physical disabilities, such as plaintiff, includes, but is not limited to,

25   communications with invitees and guests, owners of other establishments and businesses, notices
26
     Defendant obtained from governmental agencies upon modification, improvement, or substantial
27
     repair of the subject premises and other properties owned by the Defendant, newspaper articles
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 12
1    and trade publications regarding the Americans with Disabilities Act and other access laws,
2
     public service announcements, and other similar information. Defendant’s failure, under state
3
     and federal law, to make the establishment accessible is further evidence of Defendant’s
4
     conscious disregard for the rights of plaintiff and other similarly situated persons with disabilities.
5

6    The scope and means of the knowledge of Defendant are within Defendant’s exclusive control

7    and cannot be ascertained except through discovery. Despite being informed of such effect on
8
     plaintiff and other persons with physical disabilities due to the lack of accessible facilities,
9
     Defendant knowingly and willfully refused to take any steps to rectify the situation and to
10
     provide full and equal access for plaintiffs and other persons with physical disabilities to the
11

12   establishment. Said Defendant has continued such practices, in conscious disregard for the rights

13   of plaintiff and other persons with physical disabilities, up to the date of filing of this complaint,
14
     and continuing thereon. Said conduct, with knowledge of the effect it was and is having on
15
     plaintiff and other persons with physical disabilities, constitutes despicable conduct in conscious
16
     disregard of the rights and safety of plaintiffs and of other similarly situated persons, justifying
17

18   the imposition of punitive damages pursuant to Ohio law.

19          27. Plaintiff will return to the subject CROWNE PLAZA hotel to patronize the
20
     hotel in October 2020, if the hotel is made fully accessible to a disabled person in a wheelchair,
21
     and to also avail himself of the hotel’s services.
22
            28. Furthermore, plaintiff intends to return to the CROWNE PLAZA hotel as an ADA
23

24    tester in October 2020 and on an annual basis thereafter, to ascertain whether Defendant

25    removed the barriers to access which are the subject of this litigation.
26
     I.     FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A PUBLIC
27          ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
            DISABILITIES ACT OF 1990 (42 U.S.C. §12101, et seq.)
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 13
1           29.     Plaintiff pleads and incorporates by reference, as if fully set forth again herein,
2
     the allegations contained in paragraphs 1 through 28 of this complaint.
3
            30.     Pursuant to law, in 1990, the United States Congress made findings per 42 U.S.C.
4
     §12101 regarding persons with physical disabilities, finding that laws were needed to more fully
5

6    protect:

7                   some 43 million Americans with one or more physical or mental
                    disabilities; [that] historically society has tended to isolate and
8
                    segregate individuals with disabilities; [that] such forms of
9                   discrimination against individuals with disabilities continue to be a
                    serious and pervasive social problem; [that] the nation’s proper
10                  goals regarding individuals with disabilities are to assure equality
                    of opportunity, full participation, independent living and economic
11
                    self-sufficiency for such individuals; [and that] the continuing
12                  existence of unfair and unnecessary discrimination and prejudice
                    denies people with disabilities the opportunity to compete on an
13                  equal basis and to pursue those opportunities for which our free
                    society is justifiably famous.
14

15      31. Congress stated as its purpose in passing the Americans with Disabilities Act of

16   1990 (42 U.S.C. §12102):
17
                    It is the purpose of this act (1) to provide a clear and
18                  comprehensive national mandate for the elimination of
                    discrimination against individuals with disabilities; (2) to provide
19                  clear, strong, consistent, enforceable standards addressing
                    discrimination against individuals with disabilities; (3) to ensure
20
                    that the Federal government plays a central role in enforcing the
21                  standards established in this act on behalf of individuals with
                    disabilities; and (4) to invoke the sweep of Congressional
22                  authority, including the power to enforce the 14th Amendment and
                    to regulate commerce, in order to address the major areas of
23
                    discrimination faced day to day by people with disabilities.
24
        32. As part of the Americans with Disabilities Act of 1990, (hereinafter the “ADA”),
25
     Congress passed “Title III - Public Accommodations and Services Operated by Private Entities”
26

27   (Section 301 42 U.S.C. §12181, et seq.). Among the public accommodations identified for

28   purposes of this title was:
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 14
1                   (7) PUBLIC ACCOMMODATION - The following private
                    entities are considered public accommodations for purposes of this
2
                    title, if the operations of such entities affect commerce -
3                   ...
                    (A) an inn, hotel, motel, or other place of lodging ***;
4
                    42 U.S.C. §12181(7)(A).
5

6       33. Pursuant to §302, 42 U.S.C. §12182, “No individual shall be discriminated

7    against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,
8
     privileges, advantages, or accommodations of any place of public accommodation by any person
9
     who owns, leases, or leases to, or operates a place of public accommodation.”
10
        34. The specific prohibitions against discrimination set forth in §302(b)(2)(a),
11

12   42 U.S.C. §12182(b)(2)(a) are:

13                  (i) the imposition or application of eligibility criteria
                    that screen out or tend to screen out an individual with a disability
14
                    or any class of individuals with disabilities from fully and equally
15                  enjoying any goods, services, facilities, privileges, advantages, or
                    accommodations, unless such criteria can be shown to be
16                  necessary for the provision of the goods, services, facilities,
                    privileges, advantages, or accommodations being offered;
17

18                  (ii) a failure to make reasonable modifications in
                    policies, practices, or procedures, when such modifications are
19                  necessary to afford such goods, services, facilities, privileges,
                    advantages or accommodations to individuals with disabilities,
20
                    unless the entity can demonstrate that making such modifications
21                  would fundamentally alter the nature of such goods, services,
                    facilities, privileges, advantages, or accommodations;
22
                    (iii) a failure to take such steps as may be necessary to
23
                    ensure that no individual with a disability is excluded, denied
24                  services, segregated or otherwise treated differently than other
                    individuals because of the absence of auxiliary aids and services,
25                  unless the entity can demonstrate that taking such steps would
                    fundamentally alter the nature of the good, service, facility,
26
                    privilege, advantage, or accommodation being offered or would
27                  result in an undue burden;

28                  (iv) a failure to remove architectural barriers, and
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 15
1                    communication barriers that are structural in nature, in existing
                     facilities . . . where such removal is readily achievable; and
2

3                    (v) where an entity can demonstrate that the removal of
                     a barrier under clause (iv) is not readily achievable, a failure to
4                    make such goods, services, facilities, privileges, advantages or
                     accommodations available through alternative methods if such
5
                     methods are readily achievable.
6
     The acts of Defendant set forth herein were a violation of plaintiff’s rights under the ADA, 42.
7
     U.S.C. §§ 12181 et seq.; Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code §
8

9    4101:1-11, et sec., making available damage remedies.

10      35. The removal of the barriers complained of by plaintiff as hereinabove alleged
11
     was at all times after January 26, 1992 “readily achievable” as to the subject CROWNE PLAZA
12
     hotel pursuant to 42 U.S.C. §12182 (b)(2)(A)(i)-(iv). On information and belief, if the removal of
13
     all the barriers complained of herein together was not “readily achievable,” the removal of each
14

15   individual barrier complained of herein was “readily achievable.” On information and belief,

16   Defendant’s failure to remove said barriers was likewise due to discriminatory practices,
17
     procedures and eligibility criteria, as defined by §302(b)(2)(a)(i)-(iii); 42 U.S.C. §12182
18
     (b)(2)(A)(i).
19
        36. Per §301(9), 42 U.S.C. §12181 (9), the term “readily achievable” means “easily
20

21   accomplishable and able to be carried out without much difficulty or expense.” The statute

22   defines relative “expense” in part in relation to the total financial resources of the entities
23
     involved. Plaintiff alleges that properly repairing, modifying, or altering each of the items that
24
     plaintiff complains of herein were and are “readily achievable” by the Defendant under the
25
     standards set forth under §301(9) of the Americans with Disabilities Act. Further, if it was not
26

27   “readily achievable” for Defendant to remove each of such barriers, Defendant has failed to

28   make the required services available through alternative methods which were readily achievable.
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 16
1        37. On information and belief, construction work on, and modifications of, the
2
     subject CROWNE PLAZA hotel occurred after the compliance date for the Americans with
3
     Disabilities Act, January 26, 1992, independently triggering access requirements under Title III
4
     of the ADA.
5

6        38. Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12188, et

7    seq., §308, plaintiff is entitled to the remedies and procedures set forth in §204(a) of the Civil
8
     Rights Act of 1964, 42 U.S.C. 2000(a)-3(a), as plaintiff is being subjected to discrimination on
9
     the basis of disability in violation of this title or has reasonable grounds for believing that he
10
     is about to be subjected to discrimination in violation of §302. Plaintiff cannot return to or make
11

12   use of the public facilities complained of herein so long as the premises and Defendant’s policies

13   bar full and equal use by persons with physical disabilities.
14
         39. Per §308(a)(1) (42 U.S.C. 12188), “Nothing in this section shall require a person
15
     with a disability to engage in a futile gesture if such person has actual notice that a person or
16
     organization covered by this title does not intend to comply with its provisions.” Pursuant to this
17

18   last section, Plaintiff has not returned to Defendant’s premises since on or about March 25, 2019

19   through March 26, 2019, but alleges that Defendant has continued to violate the law and deny the
20
     rights of plaintiff and of other persons with physical disabilities to access this public
21
     accommodation. Pursuant to §308(a)(2), “In cases of violations of §302(b)(2)(A)(iv) . . .
22
     injunctive relief shall include an order to alter facilities to make such facilities readily accessible
23

24   to and usable by individuals with disabilities to the extent required by this title.”

25       40. Plaintiff seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights
26
     Act of 1964 (42 U.S.C. 2000(a)-3(a)), and pursuant to federal regulations adopted to implement
27
     the Americans with Disabilities Act of 1990, including but not limited to an order granting
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 17
1    injunctive relief and attorneys’ fees. Plaintiff will seek attorneys’ fees conditioned upon being
2
     deemed to be the prevailing party.
3
           41. Plaintiff seeks damages pursuant to Ohio Revised Code § 4112.02, et seq. and Ohio
4
     Administrative Code § 4101:1-11, et sec., which provide, within the statutory scheme, that a
5

6    violation of the ADA and/or Ohio’s accessibility standards is a violation of Ohio law.

7             Wherefore, plaintiff prays for relief and damages as hereinafter stated.
8
     II.      SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
9             IN VIOLATION OF OHIO REVISED CODE § 4112.02, et seq.

10         42. Plaintiff repleads and incorporates by reference as if fully set forth again herein,
11
     the allegations contained in paragraphs 1 through 41 of this complaint.
12
           43. At all times relevant to this action, Ohio Revised Code § 4112.0254 has provided
13
     that persons with physical disabilities are not to be discriminated against because of physical
14

15   handicap or disability. This section provides that:

16                    It shall be an unlawful discriminatory practice:
17
                      (G)     For any proprietor or any employee, keeper, or manager of a place of
18                            public accommodation to deny to any person, except for reasons
                              applicable alike to all persons regardless of race, color, religion, sex,
19                            military status, national origin, disability, age, or ancestry, the full
                              enjoyment of the accommodations, advantages, facilities, or privileges of
20
                              the place of public accommodation.
21
           44. CROWNE PLAZA hotel is a “place of public accommodation” pursuant to Ohio Revised
22
     Code § 4112.01(A)(9).
23

24         45. Defendant committed an unlawful act pursuant to Ohio Revised Code §4112.02(G) by

25   denying plaintiff the full enjoyment of its accommodations, advantages, facilities, or privileges,
26
     whereas, plaintiff had great difficulty due to extensive barriers for patrons confined to
27
     wheelchairs.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 18
1        46. Pursuant to Ohio Revised Code § 4112.99, plaintiff is entitled to compensatory
2
     and punitive damages, and attorney fees and costs, in an amount to be determined at trial, but in
3
     any event not less than $25,000.00, as well as issuance of an injunction requiring Defendant to
4
     allow full and equal enjoyment of its goods, services, facilities, privileges, and advantages to
5

6    disabled persons.

7        47. A separate act in violation of Ohio Revised Code § 4112.02(G) has been committed each
8
     day that Defendant acts or fail to act and/or knowingly and willfully fails and refuse to remove
9
     each architectural barrier or policy and procedure barrier presently existing at the subject public
10
     accommodation which denies full and equal access for persons with physical disabilities to said
11

12   building(s), elements and facilities of CROWNE PLAZA hotel. Plaintiff has been denied full and

13   equal access on an ongoing basis since the date of his first visit. As a legal result, plaintiff is
14
     entitled to seek appropriate relief, such as damages, pursuant to Ohio Revised Code § 4112.99.
15
         48. On or about March 25, 2019 through March 26, 2019, plaintiff suffered violations of
16
     Ohio Revised Code §4112.02(G) in that he was denied access to the facilities as stated herein at
17

18   CROWNE PLAZA hotel and on the basis that he was a person with physical disabilities.

19       49. As a result of the denial of equal access to Defendant’s facility due to the acts
20
     and omissions of Defendant in owning, operating and maintaining the subject public facility,
21
     plaintiff suffered violations of his civil rights, as well as suffering from shame, humiliation,
22
     embarrassment, frustration, anger, chagrin, disappointment and worry, all of which are
23

24   expectedly and naturally associated with a denial of access to a person with physical disabilities,

25   all to plaintiff’s damages as hereinafter stated.
26
         50. Plaintiff has been damaged by Defendant’s wrongful conduct and seeks the relief
27
     that is afforded by Ohio Revised Code § 4112 for violation of his rights, including statutory
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 19
1    damages according to proof.
2
            51. As a result of Defendant’s acts and omissions in this regard, plaintiff has been
3
     required to incur legal expenses and hire attorneys in order to enforce his rights and
4
     enforce the provisions of the law protecting access for persons with physical disabilities and
5

6    prohibiting discrimination against persons with physical disabilities. Pursuant to the provisions

7    of Ohio Revised Code § 4112, plaintiff therefore will seek recovery in this lawsuit for all
8
     reasonable attorneys’ fees and costs incurred if deemed the prevailing party.
9
               Wherefore, plaintiff prays for relief and damages as hereinafter stated.
10
     III.      THIRD CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
11
               IN VIOLATION OF OHIO ADMINISTRATIVE CODE § 4101:1-11, et seq.
12
            52. Plaintiff repleads and incorporate by reference as if fully set forth again herein,
13
     the allegations contained in paragraphs 1 through 51 of this complaint.
14

15          53. Ohio Administrative Code (hereinafter “O.A.C.”) § 4101:1-11 controls the design and

16   construction of facilities for accessibility for individuals with disabilities.
17
            54. Sites, buildings, structures, facilities, elements and spaces, temporary or
18
     permanent, shall be accessible to individuals with disabilities. O.A.C. § 1103.1.
19
            55. CROWNE PLAZA hotel, being a site, building, structure, facility, element or
20

21   space, committed an unlawful act pursuant to O.A.C. § 1103.1 by failing to provide an accessible

22   hotel to individuals with disabilities due to the barriers to access as described in this Complaint.
23
            56. Defendant’s violations denied plaintiff his full enjoyment of its accommodations,
24
     advantages, facilities, or privileges, whereas, plaintiff had great difficulty utilizing the property
25
     due to extensive barriers for patrons confined to wheelchairs.
26

27          57. As a result of these violations, plaintiff is entitled to compensatory and punitive

28    damages, and attorney fees and costs, in an amount to be determined at trial, but in any event
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 20
1     not less than $25,000.00, as well as issuance of an injunction requiring Defendant to allow full
2
      and equal enjoyment of its goods, services, facilities, privileges, and advantages to disabled
3
      persons.
4
        58. As a result of Defendant’s accessibility violations, plaintiff suffered violations of his
5

6    civil rights, as well as suffering from injury, shame, humiliation, embarrassment, frustration,

7    anger, chagrin, disappointment and worry, all of which are expectedly and naturally associated
8
     with a denial of access to a person with physical disabilities, all to plaintiffs’ damages as
9
     hereinafter stated.
10
        59. Plaintiff has been damaged by Defendant’s wrongful conduct and seek relief
11

12   for violation of the O.A.C., including actual and special damages, according to proof.

13      60. As a result of Defendant’s acts and omissions in this regard, plaintiff has been
14
     required to incur legal expenses and hire attorneys in order to enforce plaintiff's rights and
15
     enforce the provisions of the law protecting access for persons with physical disabilities and
16
     prohibiting discrimination against persons with physical disabilities. Plaintiff therefore will seek
17

18   recovery in this lawsuit for all reasonable attorneys’ fees and costs incurred if deemed the

19   prevailing party.
20
            Wherefore, plaintiffs pray for relief and damages as hereinafter stated.
21
     O.R.C. 4112.16 NOTICE OF VIOLATION OF ACCESSIBILITY LAW
22
        61. Pursuant to O.R.C. 4112.16 Notice of Violation of Accessibility Law, prior to
23

24   filing a civil action alleging violation of State of Ohio accessibility law, the alleged aggrieved

25   party may notify the owner, agent, or other responsible party, by personal service or by certified
26
     mail, of alleged accessibility law violations.
27
        62. On May 12, 2020, NEAL served upon Defendant’s statutory agent a Notice of
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 21
1    Violation of Accessibility Law pursuant to O.R.C. 4112.16.
2
          63. Defendant’s statutory response deadline in which to serve NEAL with its
3
     response was June 3, 2020.
4
          64. Defendant failed to serve a response upon NEAL or his counsel within 15 days of
5

6    receiving the O.R.C. 4112.16 Notice.

7         65. Due to Defendant’s failure to respond in accordance with the statute, NEAL
8
     may commence his lawsuit for violations of State of Ohio accessibility laws.
9
          66. Due to Defendant’s failure to respond in accordance with the statute, NEAL, if
10
     deemed the prevailing party, shall recover reasonable attorney’s fees, in addition to any other
11

12   remedies available to the plaintiff.

13             Wherefore, Plaintiff SPENCER NEAL prays for relief and damages as hereinafter
14
     stated.
15
     PRAYER:
16
               Wherefore, Plaintiff SPENCER NEAL prays that this court grant relief and damages as
17

18   follows:

19   I.        PRAYER FOR FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A
               PUBLIC ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
20
               DISABILITIES ACT OF 1990 (42 U.S.C. §1 2101, et seq.)
21
               1.     For injunctive relief, compelling Defendant to make CROWNE PLAZA hotel,
22
     readily accessible to and usable by individuals with disabilities; and to make reasonable
23

24   modifications in policies, practice, eligibility criteria and procedures so as to afford full access to

25   the goods, services, facilities, privileges, advantages and accommodations being offered.
26
               2.     For attorneys’ fees, litigation expenses and costs of suit, if plaintiff is deemed
27
     the prevailing party; and
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 22
1           3.      For such other and further relief as the court may deem proper.
2
     I.     PRAYER FOR SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND
3           EQUAL ACCESS IN VIOLATION OF OHIO REVISED CODE § 4112.02, et
            seq.
4
            4.      For injunctive relief, compelling Defendant to make CROWNE PLAZA hotel,
5

6    readily accessible to and usable by individuals with disabilities, per state law.

7           5.      General and compensatory damages according to proof;
8
            6.      All damages for each day, from the inception of the filing of this complaint, on
9
     which Defendant have failed to remove barriers which denied plaintiff and other persons with
10
     disabilities full and equal access.
11

12          7.      Attorneys’ fees pursuant to Ohio Revised Code § 4112.99, if plaintiff is deemed

13   the prevailing party;
14
            8.      Punitive damages, pursuant to Ohio Revised Code § 2315.21;
15
            9.      For all costs of suit;
16
            10.     Prejudgment interest pursuant to Ohio Revised Code 1343.03(A);
17

18          11.     Such other and further relief as the court may deem just and proper.

19   III.   PRAYER FOR THIRD CAUSE OF ACTION FOR DENIAL OF FULL AND
            EQUAL ACCESS IN VIOLATION OF OHIO ADMINISTRATIVE CODE §
20
            4101:1-11, et seq.
21
            12.     For injunctive relief, compelling Defendant to make CROWNE PLAZA hotel
22
     readily accessible to and usable by individuals with disabilities, per state law.
23

24          13.     General and compensatory damages according to proof;

25          14.     All damages for each day, from the inception of the filing of this complaint, on
26
     which Defendant have failed to remove barriers which denied plaintiffs and other persons with
27
     disabilities full and equal access.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 23
1           15.     Attorneys’ fees pursuant to Ohio Revised Code § 4112.99, if plaintiff is deemed
2
     the prevailing party;
3
            16.     Punitive damages, pursuant to Ohio Revised Code § 2315.21;
4
            17.     For all costs of suit;
5

6           18.     Prejudgment interest pursuant to Ohio Revised Code 1343.03(A);

7           19.     Such other and further relief as the court may deem just and proper.
8                                            Respectfully submitted,
9
                                             BLAKEMORE, MEEKER & BOWLER CO., L.P.A.
10
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     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 24
